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                                   STATEMENT OF FACTS

        Your affiant, Richard Migliara, is a special agent assigned to the Federal Bureau of
Investigation (“FBI”). In my duties as a special agent, I was assigned to the FBI’s Washington
Field Office, where I have served on a drug and violent crime squad. Currently, I am a tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a special
agent I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

                       Background: The U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Michael R. Pence was present and presiding, first in the joint session, and then in the Senate
chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Michael R. Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Michael R. Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint
session of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            Facts Specific to Andrew Alan Hernandez

       The FBI has identified Andrew Alan Hernandez (referred herein as “Hernandez”), based
on FBI interviews, information obtained from open sources, and an investigation, as having made
his way inside the U.S. Capitol on January 6, 2021. Hernandez is a resident of California.

        On January 19, 2021, the FBI interviewed (via telephone) a manager (“Witness No. 1”) at
Hernandez’s former employer (“Company No. 1”). Witness No. 1 is familiar with Hernandez due
to his employment with Company No. 1. Witness No. 1 told the FBI agent that Company No. 1’s
public information office had received a complaint from the public about an employee, later
identified as Hernandez, participating in the U.S. Capitol riots on January 6, 2021. The employee
(Hernandez) was identified because he was wearing the company shirt and hat in a picture that
was on the cover of the New York Times magazine. Witness No. 1 told the agent that he had
identified Hernandez from the photograph published by the New York Times Magazine that shows
Hernandez wearing a shirt and hat bearing the company’s name and logo. After being confronted
by the company’s management, Witness No. 1 told the FBI agent that Hernandez was subsequently
terminated from Company No. 1 for misrepresenting the company in illegal activities. Below is a
photograph from the New York Times Magazine from inside the U.S. Capitol on January 6, 2021,
with Hernandez circled.




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      The FBI has confirmed that the New York Times photograph by Erin Scaff, shown above,
was published by the NY Times on or about January 14, 2021.

        Your affiant reviewed a copy of a driver’s license photograph of Andrew Alan Hernandez.
Your affiant confirmed that the person depicted in Hernandez’s driver’s license photograph bears
a strong resemblance to the individual depicted in the photograph from the New York Times and
in security camera footage from inside the U.S. Capitol, in which an individual appearing to be
Hernandez can be seen entering the Capitol with a group of rioters who are violently pushing their
way into the building. A still image from the security camera video is below, with Hernandez
circled. In the video from the U.S. Capitol, Hernandez can be seen shouting, but what he is saying
is inaudible.




        In the below photograph obtained from Getty Images that your affiant has examined,
Hernandez (circled) is shown carrying a flag with a GoPro camera zip-tied to the flag pole. Your
affiant knows from his training and experience that Go-Pro cameras are digital devices that allow
users to record video and photographs and store that data on memory cards.




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        FBI social media analysts found several social media accounts which are either believed to
be associated with Hernandez (YouTube) or have been confirmed that Hernandez is the subscriber
(Twitter) and which were publically available. A review of the accounts suggests that Hernandez
adheres to multiple ideologies including: Q-Anon, health and science related conspiracies,
financial conspiracies, and various conspiracies associated to US political figures. Below, in Post
No. 1, is a post from one of the accounts, which has a photograph of a burning Q over a United
States seal. “Q” is a letter/symbol that has been associated with Q-Anon, a movement which
adheres to various conspiracy theories involving alleged government corruption.

       Post No. 1




         Another post dated November 6, 2020, from one of Hernandez’s social medical accounts
states, “If people do not fight now go out and protest the vote/election fraud. Than your voting
days are over. They are trying to steal the vote and will perfect and protect their fraudulent
voting system when in power. . . You will have a tyrannical dictatorship. Fight Fight Fight[.]


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       Post No. 2




       In a third post from one of Hernandez’s accounts, on January 1, 2021, states, “Happy
New Year to You and your Family Courageous Mr. President. You are the Greatest President
These United States of American Has Had! We the People are Honored to Stand with You,
Fight and Defeat this [hidden] ENEMY Once and For All. For God and Country We Fight!”

       Post No. 3




       As shown below, on or about January 11, 2021, one of Hernandez’s accounts had the
following tweet, “THE ELECTION WAS FRAUD!”
       Post No. 4




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        Based on the foregoing, your affiant submits that there is probable cause to believe that
Andrew Alan Hernandez violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Andrew Alan Hernandez
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

       Finally, your affiant submits there is probable cause to believe that Andrew Alan
Hernandez violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or
impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, Congressional
proceedings are official proceedings.


                                                     ____________________________________
                                                     Special Agent Richard Migliara
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 23rd day of February 2021.
                                                                              2021.02.23
                                                                              12:44:51 -05'00'
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE




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